The Honorable Velora Bright Haltom Hempstead County Clerk P.O. Box 1420 Hope, Arkansas 71802-1420
Dear Ms. Haltom:
You have requested approval, pursuant to the Interlocal Cooperation Act [A.C.A. § 25-20-101 et seq.], of a proposed interlocal agreement between Hempstead County and the Town of Washington.
You have submitted a copy of the proposed agreement, under the terms of which the parties agree generally as to the manner in which the unpaved streets in the Town of Washington will be maintained. According to the agreement, the County will provide labor and equipment to maintain the unpaved streets. The Town (when ready and able) will supply materials in order to seal the streets, and the County will provide labor and equipment to do the work.
The Interlocal Cooperation Act requires that interlocal agreements for joint or cooperative action must specify the following items:
(1) The duration of the agreement;
(2) The purposes of the agreement;
  (3) The manner of financing the joint or cooperative undertaking and of establishing and maintaining a budget for it;
  (4) The methods of accomplishing termination of the agreement and for the disposal of property upon termination;
(5) Any other necessary and proper matters.
A.C.A. § 25-20-104(c). In addition, if the interlocal agreement does not establish a separate legal entity to conduct the joint or cooperative undertaking, it must specify the following items:
  (1) The provision for an administrator or a joint board that will be responsible for administering the joint or cooperative undertaking;
  (2) The manner of acquiring, holding, and disposing of real and personal property used in the joint or cooperative undertaking.
A.C.A. § 25-20-104(d).
Because the agreement that you have submitted does not establish a separate legal entity to conduct the joint or cooperative undertaking, it must specify all of the above-listed items.
Having analyzed the agreement between Hempstead County and the Town of Washington under the requirements of the Interlocal Cooperation Act, I find that the agreement meets those requirements, and is therefore hereby approved in its current form.
The foregoing opinion, which I hereby approve, was prepared by Assistant Attorney General Warren T. Readnour.
Sincerely,
WINSTON BRYANT Attorney General
WB:WTR/cyh